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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

DISABILITY RIGHTS NEW YORK,

Plaintiffs,
-against- Memorandum in Support of
Plaintiff’s Motion for Summary
Judgment
NORTH COLONIE BOARD OF EDUCATION, Docket No: 1:14-cv-00744

North Colonie Central Schools, and
Mr. D. Joseph Corr, in his official capacity as the
Superintendent of North Colonie Central Schools,

Defendants.

 
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INTRODUCTION

Disability Rights New York (hereinafter “DRNY”), the designated Protection and
Advocacy (“P & A”) system for the State of New York, commenced this action to enforce its
federal law rights to access facilities, individuals, and records pursuant to the Protection and
Advocacy for Individuals with Mental Illness Act (““PAIMI Act”), 42 U.S.C. § 10801 et seq., the
Developmental Disabilities Assistance and Bill of Rights Act (“DD Act’), 42 U.S.C. § 15041 et
seq., the Protection and Advocacy for Individual Rights Act (“PAIR Act’), 29 U.S.C. § 794e,
and New York Executive Law § 558. (Hereafter collectively “P & A Acts”). DRNY received
multiple complaints that students with disabilities in the Blue Creek Elementary School (“Blue
Creek School”) have been and are being subjected to abuse and neglect. DRNY brought this
action to challenge the North Colonie Board of Education, North Colonie Central Schools and
Superintendent D. Joseph Corr’s (collectively “Defendants”) refusal to grant DRNY access to
Blue Creek Elementary School. Defendants likewise denied DRNY access to records pertaining
to the students with disabilities attending Blue Creek School, causing DRNY to amend its
Complaint to gain access to records. The denial of access by Defendants prevents DRNY from
fulfilling the statutory mandates of investigating allegations of abuse and neglect as well as

providing protection and advocacy services for individuals with disabilities.

UNDISPUTED FACTS

A. The Federal Protection and Advocacy System

In 1975, Congress enacted the Developmental Disabilities Assistance and Bill of Rights

Act, 42 U.S.C. §$§ 6041-6043,* following revelations of inhumane and despicable conditions at a

 

* Congress subsequently replaced the statute with the Developmental Disabilities Act of 2000
(“DD Act”), 42 U.S.C. §§ 15001-15115.
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New York institution for persons with developmental disabilities. Conn. Office of P&A v. Kirk,
354 F. Supp. 2d 196, 199 (D. Conn. 2005), Under the DD Act, in order to receive federal funds,
a state must have in effect a protection and advocacy system for persons with disabilities. /d.
Congress granted the Protection and Advocacy (P&A) System broad authority to “investigate
incidents of abuse and neglect of individuals with developmental disabilities if the incidents are
reported to the system or if there is probable cause to believe that the incidents occurred.” 42
U.S.C. § 15043(a)(2)(B).

In 1986, Congress passed the Protection and Advocacy for Mentally Ill Individuals Act,
42 U.S.C. §§ 10801-10827, after finding that individuals with mental illness were vulnerable to
abuse, neglect, and serious injury, and that state systems for monitoring the rights of these
individuals varied widely and were frequently inadequate. 42 U.S.C. § 10801(a); Connecticut
Office of Prot. & Advocacy for Persons With Disabilities v. Kirk, 354 F. Supp. 2d 196, 199 (D.
Conn. 2005) aff'd sub nom. Prot. & Advocacy For Persons With Disabilities, Conn. v. Mental
Health & Addiction Servs., 448 F.3d 119 (2d Cir. 2006). The PAIMI Act also provided for
states to establish a P&A system to protect and advocate for the rights of individuals with mental
illness. 42 U.S.C. 10801; Kirk, 354 F. Supp. 2d at 199.

Moreover, Congress found that “[s]tate systems for monitoring compliance with respect
to the rights of individuals with mental illness vary widely and are frequently inadequate.” 42
U.S.C. § 10801(a)(4). Accordingly, Congress granted P&As the same powers found under the
DD Act: the power to “investigate incidents of abuse and neglect of persons with mental illness
if the incidents are reported to the system or if there is probable cause to believe that incidents

occurred.” 42 U.S.C. § 10805(a)(1)(A).
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In order to conduct its investigations, both the DD Act and the PAIMI Act provide a
P&A with broad authority to access facilities at times when service recipients are present. 42
U.S.C. § 10543(a)(2)(H) and (1), 42 U.S.C. § 10805(a)(3) and (4),42 U.S.C. § 10806,45 C.F.R. §
1386.22.42 C.F.R. § 51.42.

A system shall have reasonable unaccompanied access to public and
private facilities which provide services, supports, and other assistance for
individuals with developmental disabilities in the State when necessary to
conduct a full investigation of an incident of abuse or neglect under
section 142(a)(2)(B) of the [DD] Act. This authority shall include the
opportunity: to interview any facility service recipient, employee, or other
person, including the person thought to be the victim of such abuse, who
might be reasonably believed by the system to have knowledge of the
incident under investigation; and to inspect, view and photograph all areas
of the facility's premises that might be believed by the system to have been
connected with the incident under investigation.

45 C.F.R. § 1386.22(f)°

In 1992 Congress enacted the PAIR Act to ensure protection and advocacy services are
available to individuals with disabilities that neither have developmental disabilities as defined
by the DD Act nor mental illness as defined by PAIMI Act. 29 U.S.C. § 794e (a) (1) (B). As an
example, an individual with a learning disability would be eligible for services under PAIR.
Congress granted the P&A under PAIR the authority to investigate incidents of abuse and
neglect of individuals with disabilities if the incidents are reported to the system or if there is
probable cause to believe that the incidents occurred. 42 U.S.C. § 15043(a) (2) (B). 29 U.S.C. $

794e (f); see also, Connecticut Office of Prot. & Advocacy For Persons With Disabilities v.

 

Hartford Bd. of Educ., 464 F.3d 229, 240-241 (2d Cir. 2006).

 

* See also id. § 1386.22(g) (noting that the system “shall have unaccompanied access to all
residents of a facility at reasonable times, which at a minimum shall include normal working
hours and visiting hours” for the purposes of fully investigating alleged abuse and neglect).
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The P&A Acts also authorize a P&A system to “pursue administrative, legal, and other
appropriate remedies” to ensure the protection of the rights of such disabled individuals in New
York State. 42 U.S.C. §§ 10805(a)(1)(B) and 15043(a)(2)(A)(i). To allow a P&A system to
pursue these objectives, the Acts authorize a P&A system to have access to records of persons
with disabilities under certain circumstances, including with the authorization of the individual’s
legal representative. 42 U.S.C. §§ 15043(a)(2)(I(i) and 10805(a)(4)(A). Records requested by a
P&A system must be provided promptly, 42 U.S.C. § 15043(a)(2)(J)(i)-(ii); 42 C.F.R. § 51.41 (a),
and a written explanation must be provided for any delay, 42 C.F.R. § 51.43; 45 C.F.R.

§ 1386.22(i).

The U.S. Department of Health and Human Services (“HHS”) has promulgated
regulations governing activities carried out by P&A systems, including P&A systems’ access to
records. 42 C.F.R. § 51.41 (“PAIMI Access Regulation”); 45 C.F.R. § 1386.22 (“DD Access
Regulation,” together with the PAIMI Access Regulation, the “P&A Access Regulations”).
These Regulations make clear that a P&A system’s access authority extends to all locations
where care, treatment, services and habilitation are provided to individuals with disabilities. 42
C.F.R. § 51.41 (c)(2); 45 C.F.R. § 1386.22(b)(2).

At all times relevant to this action, DRNY has been the statewide P&A system as
designated by the Governor of the State of New York. Declaration of Julie M. Keegan, Esq. in
Support of Plaintiffs Motion for Summary Judgment (“Keegan Decl.”) Exhibit A.

B. Defendants’ Failure to Provide Access to Facility and Records

Pursuant to its authority as New York’s P&A system, from April 22, 2014 through June
9, 2014, DRNY received multiple complaints alleging abuse and neglect of students with

disabilities placed in the “Academic Skills Class” located at Blue Creek Elementary School in
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the North Colonie Central School District (“ASC program”). Keegan Decl. Exhibit B 4 11;

Exhibit C at 15-32; Exhibit D { 12 — 27.

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The complaints received by DRNY included to the following allegations:

District staff repeatedly physically restrained students with disabilities without
conducting a functional behavior assessment and developing a behavior intervention
plan for such students. Keegan Decl. Exhibit C at 23-24; Exhibit D §] 16, 21.

The District failed to comply with State regulations regarding the use of physical
restraints in instances when resistant students were involuntarily “escorted” using
physical force. Keegan Decl. Exhibit C at 29, 30; Exhibit D J 26; Exhibit G 11:9-19.
At least 80 such “escorts” involved students in the ASC program. Keegan Decl.
Exhibit C at 29-30.

District employees using physical restraints on students were not trained. Keegan
Decl. Exhibit C at 18.

The District failed to provide notice of the use of physical restraint to parents of
students with disabilities as required by state law. Keegan Decl. Exhibit C at 30;
Exhibit G 112:15-22.

District staff placed other students with disabilities at risk of harm, injury, abuse or
neglect when restraining other students with disabilities. Keegan Decl. Exhibit C at
17-18.

The District failed to conduct Functional Behavior Assessments and develop
Behavior Intervention Plans for ASC students who had a history of significant
behaviors at school that impede learning and the learning of others. Keegan Decl.

Exhibit C at 19, 23-24; Exhibit D { 16, 21.
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The District failed to supervise students with disabilities in the ASC class which
resulted in students eloping from the school building, several hundred feet through a
busy parking area and down a well-trafficked public street; Keegan Decl. Exhibit C at
22, 24-25; Exhibit D J 19, 22.

District administrators designated a bathroom as a “quiet room” for a student with a
history of aggressive behaviors. The bathroom could be locked from inside and
contained unsafe fixtures, a toilet and shower and was otherwise an unsafe location
for behavioral intervention. Keegan Decl. Exhibit C at 21-22, 25-28; Exhibit D 4 23-
24; Exhibit G 105:19-24 — 106:1-3.

ASC students sometimes were relocated to a bathroom to eat lunch or receive
instruction when a classmate demonstrated aggressive behavior in the classroom.
Keegan Decl. Exhibit C at 18, 25.

The physical set up of the ASC program was insufficient to provide behavioral
interventions required by students in the program resulting in increased aggressive
behavior. Keegan Decl. Exhibit C at 21, 27, 28.

The District failed to provide sufficient staff to address students’ needs or in
accordance with the students’ Individualized Education Programs. C at 18, 23, 27, 28-
29,

The District permitted program staff to repeatedly verbally and physically harass
students in such a manner that students became fearful, agitated, and/or disruptive
when interacting with such staff. Keegan Decl. Exhibit C at 15-16, 17-18, 31-32;

Exhibit D §] 12, 27.
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xiv. District administrators failed to respond to complaints and concerns expressed by
school employees regarding the safety of the students in the ASC program. Keegan
Decl. Exhibit C at 26, 27-29, 32; Exhibit G 113:19-24, 114:1-7.

xv. A District employee directed a student’s guardian to place multiple doses of
prescription medication in a student’s backpack to be brought by the unaccompanied
student to the school where it would be retrieved by school nurse and the nurse failed
to retrieve the medication causing the student to transport it back home without
knowledge or supervision of any adult. DRNY Keegan Decl. Exhibit C at 20; Exhibit
Ex. D417.

xvl. The District did not take any action to assess a student’s suicide risk after the student
made two threats of suicide and attempted to choke himself. Keegan Decl. Exhibit C
at 24.

These allegations were from six (6) separate complainants who have direct knowledge of
the District’s educational program, including one individual who had worked at Blue Creek
School. Keegan Decl. Exhibit C at 30; Exhibit G 108:2-4,109:2, 111:9-19,

Based on the nature, number and credibility of the complaints received, DRNY sought
access to the Defendants’ Blue Creek Elementary School and the ACS program. Keegan Decl.
Exhibit D { 28-29; Exhibit G 119:20-24 — 120:1-6, 131:7-14. On June 12, 2014, DRNY notified
the Defendants’ of DRNY’s investigation and that DRNY would be conducting an investigation
at Blue Creek Elementary School on June 17, 2014. Keegan Decl. Exhibit H. On June 16, 2014,
the District denied DRNY access to Defendants’ building and program. Keegan Decl. Exhibit I.

On June 20, 2014, DRNY received a temporary restraining order issued by the Honorable

David Hurd restraining Defendants from denying DRNY immediate access to Blue Creek School
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when students are present to permit plaintiff to conduct an investigation into allegations of abuse
and/or neglect. Keegan Decl. Exhibit J. DRNY’s access was limited to 6.5 hours when students
were present on the final days of school. Keegan Decl. Exhibit K; Exhibit L.

In a further effort to complete its investigation, DRNY requested from Defendants the
records of four students who participated in the ASC program and who were clients of DRNY.
Keegan Decl. Exhibit M. Pursuant to federal law, DRNY provided Defendants with a records
release signed by the parent or guardian of each of the students. 42 U.S.C. § 15043(a)(2)(DQ)];
42 U.S.C. § 10805(a)(4)(A)(1) [PAIMI]. Keegan Decl. Exhibit M. Defendants again refused to
recognize DRNY’s P&A authority and withheld records. Keegan Decl. Exhibit N. Accordingly,
DRNY filed an amended complaint on August 18, 2014 demanding full access to the student
records. ECF Doc. No. 24.

As aresult of Defendants’ ongoing refusal to comply with the federal laws governing the
P & Asystem, DRNY’s investigation of the allegations of abuse and neglect remains incomplete.
Keegan Decl. Exhibit G 60:3-4, 71:20-24, 80:10-11, 89:23, 97:7-9; 102:9-12; 105: 3-5, 110:14-
16, 113:9-12. Moreover, DRNY has been unable to investigate a complaint regarding unlawful
physical restraint procedures by staff in another ASC classroom in Blue Creek School. Keegan

Keegan Decl. Exhibit G 124:4-11.

STANDARD FOR SUMMARY JUDGMENT

Summary adjudication is appropriate when “the pleadings, depositions, answers
to interrogatories, and admissions on file, together with affidavits, if any, show that there is no
genuine issue as to any material fact and that the moving party is entitled to a judgment as a
matter of law.” Fed. R. Civ. P. 56(c); Bronx Household of Faith v. Bd. of Educ. of City of N.Y.,

492 F.3d 89, 96 (2d Cir.2007). In considering a motion for summary judgment, a court must

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examine all the evidence in the light most favorable to the non-moving party, United States v.
Diebold, Inc., 369 U.S.654 (1962); Amnesty America v. Town of West Hartford, 361 F.3d 113,
122 (2d Cir.2004), but the moving party may discharge its burden of showing that no genuine
issue of material fact exists by demonstrating that “there is an absence of evidence to support the
non-moving party’s case.” Celotex, 477 U.S. at 325. This shifts the burden to the non-moving
party to “set forth specific facts showing that there is a genuine issue for trial.” Anderson v.
Liberty Lobby, Inc., 477 U.S. 242, 256 (1986). The evidence presented by the parties must be
admissible. Fed. R. Civ.P. 56(e). Conclusory, speculative testimony in affidavits and moving
papers does not raise genuine issues of fact and defeat a summary judgment motion. See, Falls
Riverway Realty, Inc. v. City of Niagara Falls, 754 F.2d 49,57 (2d Cir. 1985). Summary
judgment is appropriate if the evidence favoring the non-moving party is merely colorable or 1s
not significantly probative. See, Hill v. White, 190 F.3d 427, 431 (6th Cir. 1999). All these tests

favor a grant of summary judgment here, as demonstrated below.

LEGAL ARGUMENT

POINT I

DRNY IS THE PROTECTION AND ADVOCACY SYSTEM IN NEW YORK AND IS
ENTITLED TO PHYSICAL ACCESS TO BLUE CREEK ELEMENTARY SCHOOL.

A. DRNY Received Complaints Alleging Acts of Abuse and Neglect as Defined in the
DD, PAIMI and PAIR Acts.

Under federal and State law, a Protection and Advocacy System is authorized to fully
investigate any complaint reported to the system alleging abuse or neglect occurring in any
public or private facility that provides care, services, treatment and/or habilitation to persons

with disabilities. 42 U.S.C. § 15043 (a)(2)(B); 45 C.F.R. § 1386.22(f); 42 U.S.C.
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§$10805(a)(1)(A) and 29 U.S.C. § 794e (f)(2); NY Executive Law §558(b). Specifically, a
state’s P & A system for persons with developmental disabilities “shall have the authority to
investigate incidents of abuse and neglect of individuals with developmental disabilities if the
incidents are reported to the system or if there is probable cause to believe that the incidents
occurred.” 42 U.S.C. § 15043(a)(2)(B) (emphasis added). See, Hawaii Disability Rights Center
v. Cheung, 2007 WL 2106584 at 5 (D. Hawaii) (To exercise its access authority, a P & A is not
required to establish probable cause if it has received a complaint). Where, as here, one or more
complaints of abuse and neglect are reported to the P&A System, the System’s access authority
is triggered. See, 42 U.S.C. § 15043(a)(2)(B); . Alabama Disabilities Advocacy Program v. J.S.
Tarwater Developmental Ctr., et. al, 97 F.3d 492, 498 (11th Cir. 1996) ( a single anonymous
telephone call was sufficient for a P & A to undertake an investigation); Disability Law Center of
AK, Inc. v North Star Behavior Health, 2008 WL 853639 at 2 (D. Alaska) (a single complaint
alleging abuse was sufficient for investigation and access); Hawaii Disability Rights Center v.
Cheung, at 5.

1. DRNY Received Multiple “Complaints” as Defined by the P&A Acts.

 

DRNY received complaints from six complainants alleging that students in Defendants’
Blue Creek Elementary School ASC program have been and continue to be subjected to abuse
and neglect. Keegan Decl. Exhibit C at 15-32; Exhibit D 4 12, 14-27. A [c]omplaint “includes,
but is not limited to, any report or communication, whether formal or informal, written or oral,
received by the system including media accounts, newspaper articles, telephone calls (including

anonymous calls), from any source alleging abuse or neglect of an individual with a

 

* Similarly, a state’s PAIMI program and its PAIR program have the same authority with respect
to their respective service populations. See respectively, 42 U.S.C. §10805(a)(1)(A) and 29
U.S.C. § 794e (f)(2).

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developmental disability. 45 C.F.R. § 1386.19... Here, DRNY received complaints from five
parents or guardians of students in the ASC program. Keegan Deel. Exhibit C at 15-32; Exhibit
D { 12-24. DRNY also conducted a two-hour interview with a sixth complainant who had
worked at Blue Creek School and had direct knowledge of the ASC program and who provided
additional complaints and corroborating facts. Keegan Decl. Exhibit C at 27-28; Exhibit G
107:17-19, 108:2-4, 109:5, 110:23, 111:9-19. Defendants do not dispute that DRNY received
these multiple complaints about the ASC program at Blue Creek School. Keegan Decl. Exhibit
B. 953-71.

ii. The Acts and Omissions Alleged in the Complaints Received by DRNY
Constitute Abuse and Neglect as Defined by the P&A Acts.
The complaints received by DRNY fall squarely within the definitions of abuse and

neglect in the relevant P&A regulations. Pursuant to the regulations governing the Protection

and Advocacy System for the Rights of Persons with Developmental Disabilities (“PADD”):

Abuse means any act or failure to act which was performed, or which was failed to be
performed, knowingly, recklessly, or intentionally, and which caused, or may have
caused, injury or death to an individual with developmental disabilities, and includes such
acts as: Verbal, nonverbal, mental and emotional harassment; rape or sexual assault;
striking; the use of excessive force when placing such an individual in bodily restraints;
the use of bodily or chemical restraints which is not in compliance with Federal and State
laws and regulations or any other practice which is likely to cause immediate physical or
psychological harm or result in long term harm if such practices continue.

45 C.F.R. § 1386.19.

The definition of abuse under PAIMI is nearly identical.

 

* Add PAIMI and PAIR cites

> Under PAIMI, “[a]buse means any act or failure to act by an employee of a facility rendering care or treatment
which was performed, or which was failed to be performed, knowingly, recklessly, or intentionally, and which
caused, or may have caused, injury or death to an individual with mental illness, and includes but is not limited to
acts such as: rape or sexual assault; striking: the use of excessive force when placing an individual with mental
illness in bodily restraints; the use of bodily or chemical restraints which is not in compliance with Federal and State
laws and regulations; verbal, nonverbal, mental and emotional harassment; and any other practice which is likely to

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DRNY received multiple complaints alleging conduct specifically identified as abuse
under 45 C.F.R. § 1386.19 including: verbal and nonverbal harassment of students in the ASC
class by a staff person (Keegan Decl. Exhibit C at 15-18, 31-32; Exhibit D J 12, 27); the use of
bodily restraints in a manner that violates 8 NYCRR 200.22(d), to wit, imposing physical
restraints as a substitute for systematic behavioral interventions (Keegan Decl. Exhibit C at 23-
24; Exhibit D 4 16, 20, 21), failing to notify parents when physical restraints were imposed
(Keegan Decl. Exhibit C at 30; Exhibit G 112:15-22), and permitting untrained staff to conduct
physical restraints (Keegan Decl. Exhibit C at 18); failing to prevent student elopement from the
school building which placed eloping students at immediate risk of physical harm (Keegan Decl.
Exhibit C at 22, 24-25; Exhibit D § 19, 22); designating a physically unsafe bathroom as a place
for behavioral de-escalation which placed students using the room at risk of immediate physical
harm (Keegan Decl. Exhibit. C at 21-22, 25-28; Exhibit D 23-24; Exhibit G 105:19-24 — 106:1-
3); and directing a parent to allow a student with a disability to transport prescription medication
to school without adult supervision thereby placing the student at immediate risk of physical

harm (Keegan Decl. Exhibit C at 20; Exhibit D 4 17).

Similarly, complaints reported to DRNY alleged acts which, if found true, would
constitute neglect. Pursuant to the regulations governing PADD:

Neglect means a negligent act or omission by an individual responsible for providing
treatment or habilitation services which caused or may have caused injury or death to an
individual with developmental disabilities or which placed an individual with
developmental disabilities at risk of injury or death, and includes acts or omissions such
as failure to: establish or carry out an appropriate individual program plan or treatment
plan (including a discharge plan); provide adequate nutrition, clothing, or health care to
an individual with developmental disabilities; provide a safe environment which also
includes failure to maintain adequate numbers of trained staff.

 

cause immediate physical or psychological harm or result in long-term harm if such practices continue. 42 C.F.R. §
51.2.

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45 C.F.R. § 1386.19. The definition of neglect under PAIMI is nearly identical.°

The complaints received by DRNY included multiple allegations of neglect as defined by
the DD Act and PAIMI including: failure to provide a safe classroom environment for students
with significant behavioral challenges (Keegan Decl. Exhibit C at 21, 27, 28); the designation
and use of an unsafe bathroom for behavioral de-escalation (Keegan Decl. Exhibit C at 21-22,
25-26, 27-28; Exhibit D § 23-24; Exhibit G 105:19-24—-106:1-3); failing to have adequate
numbers of trained staff to support the students in the ASC program (Keegan Decl. Exhibit C at
18, 23, 27, 28-29) and prevent them from eloping from the building (Keegan Decl. Exhibit C at
22, 24-25; Exhibit D J 19, 22); and failing to secure a suicide assessment of a student who made
two threats of suicide (Keegan Decl. Exhibit C at 24). Each of these complaints of alleged abuse
and neglect is alone sufficient to trigger DRNY’s access authority. 42 U.S.C. § 15043(a)(2)(B),
42 U.S.C. §10805(a)(1)(A); see also, Alabama Disabilities Advocacy Program v. J.S. Tarwater
Developmental Ctr., et. al, at 498, Disability Law Center of AK, Inc. v North Star Behavior
Health, at 2.

Courts have confirmed P&A access authority based on similar and or lesser complaints.
in State of Connecticut Office of Prot. & Advocacy for Persons with Disabilities v. Hartford Bd.
of Educ., the Connecticut P & A System sought access to records and individuals in an
educational program operated by the Hartford Board of Education based on complaints that
students in the program had been subjected to inappropriate restraint and seclusion and that in

certain instances, students suffered injury as a result. 355 F. Supp. 2d 649, 652 (D. Conn.

 

° Under PAIMI, “[nJeglect means a negligent act or omission by an individual responsible for providing services in a
facility rendering care or treatment which caused or may have caused injury or death to an individual with mental
illness or which placed an individual with mental illness at risk of injury or death, and includes, but is not limited to,
acts or omissions such as failure to: establish or carry out an appropriate individual program or treatment plan
(including a discharge plan); provide adequate nutrition, clothing, or health care; and the failure to provide a safe
environment which also includes failure to maintain adequate numbers of appropriately trained staff.” 42 C.F_R. 3
51.2.

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2005), affd sub nom. Connecticut Office of Prot. & Advocacy For Persons With Disabilities
v. Hartford Bd. of Educ., supra. The District Court summarily concluded that the
allegations reported to the P & A constituted probable cause. Id. at 661. Similarly, in
Disability Law Ctr. of Alaska, Inc. v. Anchorage Sch. Dist., the P & A sought access to further its
investigation of a class serving students with developmental disabilities in a public elementary
school. Supra at 939. The Ninth Circuit Court of Appeals determined that “complaints
concerning general problems with classroom conditions and the treatment of students” were
sufficient to justify the P & A’s access authority. Id. Indeed, a single complaint alleging hair
pulling of a child was a sufficient for a P & A to exercise its access authority. Disability Law
Center of AK, Inc. v. North Star Behavior Health, 2008 WL 853639 at 2. “It was perfectly
reasonable for the [P & A system] to conclude that the incident reported may have been abuse of
a person who is mentally ill. That is all [the P & A system] needed to investigate and request

records from the [the provider] pursuant to 42 U.S.C. § 10805.” Id.

Accordingly, given the nature, number and specificity of complaints alleging acts and
omissions of abuse and neglect reported, DRNY has ample basis and authority to expand its
investigation of Blue Creek School to include physical access. Moreover, as courts across
Jurisdictions have consistently held, a P & A’s determination as to the sufficiency of complaints
is not subject to challenge by the state or a service provider such as defendants. See, e.g.,
Alabama Disabilities Advocacy Program v, J.S. Tarwater Developmental Ctr., 97 F.3d 492, 499
(11th Cir. 1996); Prot. & Advocacy For Persons With Disabilities v. Armstrong, 266 F. Supp. 2d
303, 321 (D. Conn. 2003); Arizona Ctr. for Disability Law v., Allen, 197 F.R.D. 689, 693
(D.Ariz.2000); Center For Legal Advocacy v. Earnest, 188 F.Supp.2d 1251, 1257

(D.Colo.2002), rev'd on other grounds, 320 F.3d 1107 (10th Cir.2003); 1257; Rasmussen, 206

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F.R.D. 630; Gerard Treatment Programs, L.L.C., 152 F.Supp.2d at 1159; Mt Washington

Pediatric Hospital, Inc., 106 Md.App. 55, 664 A.2d 16.

. unlike criminal law probable cause, the consequence of a P&A's determination of
probable cause is not an indictment or an accusation, but rather a civil investigation.
Moreover, no fundamental liberty or privacy interest is impinged when a P&A finds
probable cause to investigate an incident at a facility. In the P & A probable cause
process, the interests of three parties are implicated—those of the facility, those of the
individual who may have been subject to abuse and his or her family, and those of the P
& A, which has an obligation and mandate to protect from abuse the individual(s) and
others who are similarly situated. In this balance, the facility's interests surely are less
viable and of less import than those of the individual and the P & A. The facility can
claim no interest in avoiding investigations of harm or injury to a person with a disability.
Minor inconveniences to staff or some disruption of the facility's routine hardly rise to
the level of the liberty interest that is generally at issue in a criminal investigation... .
Indeed, one would suppose that a facility's legitimate interests are served when abuse and
neglect are uncovered and can be corrected.

Alabama Disabilities Advocacy Program y. J.S. Tarwater Developmental Cir., at 499, citing
Michigan Protection & Advocacy Service, Inc. v. Miller, 849 F.Supp. 1202, 1208-09
(W.D.Mich.1994); see also, Prot. & Advocacy For Persons With Disabilities y. Armstrong at

321. As in Tarwater and Armstrong, defendants here have no "legitimate interest" in keeping

 

DRNY from conducting its investigation.

B. Blue Creek Elementary School is a Facility as defined in the DD, PAIMI and PAIR
Acts.

Defendants’ “Blue Creek Middle School” is a facility within the meaning of the P&A
Acts. Defendants’ program engages in the type of treatment and care within the plain language
of the statutes and regulations.

“A facility includes any setting that provides care, treatment, services and habilitation,
even if only ‘as needed’ or under a contractual agreement.” 45 C.F.R. § 1386.19; see also 42
U.S.C. § 15043(a)(2)(H). Defendants’ Blue Creek School is a facility within the plain meaning

of the P & A Acts because it administers treatment and provides services to individuals with

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disabilities. Defendants administer a self-contained class for students with a variety of
developmental disabilities, mental illness and/or disabilities that impact learning and manifest in
significant behavioral challenges at school. Keegan Decl. Exhibit E, Resp. No. 29, 30, 35, 36;
Exhibit F, Resp. No. 1, 3. The Defendants conduct functional behavior assessments, provide
counseling, behavior intervention plans, Occupational Therapy, Physical Therapy, Speech
Therapy, dispense of medication, provide nursing services, and special education related to
students’ mental health issues. Keegan Decl. Exhibit E, Resp. No. 5.

The Second Circuit firmly settled that a P&A system is authorized to access public, non-
residential schools in Connecticut Office of Prot. & Advocacy for Persons With Disabilities vy.
Hartford Bd. of Educ., 464 F.3d 229, 242 (2d Cir. 2006) (a public school educational program
for students with disabilities is a facility with the meaning the P&A Acts). In reviewing the
definition of “facilities”, the Second Circuit, in an opinion by then Court of Appeals Judge Sonya
Sotomayor, held the P & A system is entitled to access to “non-residential facilities that provide
care or treatment to individuals with [disabilities].” Id. at 239’

Similar to the Defendants’ school, the public school in Hartford was alleged to have used
physical restraints and seclusion as a method of to control emotional and behavioral problems
related to metal illness. 464 F.3d at 233, 238. Similar to the Hartford case, students enrolled in
Blue Creek School have been identified as requiring special education or related services under
the IDEA. There is no real distinction between the special education program administered by

Defendants and the program administered in the program in Hartford.

 

"In Hartford , the 2" Circuit adopted the position of the Department of Health and Human
Services (DHHS) in interpreting DHHS regulations related to the statute. Id. at 239. See also
Brief for Amici Curiae the Department of Education and DHHS, 2006 WL 4470911.

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Numerous other courts have confirmed that P&A access authority extends to public
schools serving students with disabilities. Indeed, the defendants’ argument that schools and
school districts are not “facilities” within the meaning of the P&A statutes has no credence in
any jurisdiction. See, e.g., Disability Rights Wisconsin v. State of Wisconsin Dep't of Public
Instruction, 463 F.3d 719, 726 (7th Cir. 2006) (holding that “the potential abuse or neglect took
place at Lincoln [a school], and Lincoln easily meets the definition of a facility.”); Disability
Law Center of Alaska Inc., v. Anchorage School District, at 940 (upholding the U.S. Department
of Health and Human Services’ interpretation of the P&A statutes, and holding that schools are
covered “facilities”); Protection & Advocacy For Persons With Disabilities v. Armstrong, at 314

(“a facility’ was one where treatment of mental illness occurred); Pennsylvania Protection &

 

Advocacy, Inc. v. Houstoun, 228 F.3d 423, 425 (3d Cir. 2000),(“‘a facility’ is a place where

treatment of mental illness occurs); Center For Legal Advocacy v. Hammons, 323 F.3d 1262,

 

1268, 1270 (10th Cir. 2003) (P&A has access to all records related to quality assurance and
treatment); Missouri Protection & Advocacy Services v. Missouri Dept. of Mental Health, 447
F.3d 1021, 1023-4 (8th Cir. 2006) (allowing access to all records related to the treatment of those
with mental illness). It is well settled law that a school (or a school district) is a “facility” within
the meaning of the P&A statutes.
C. The Complaints Received by DRNY Pertained to Individuals with Disabilities.

The third and final prerequisite for a P&A’s access authority is the P&A’s reasonable belief that
the victims of alleged abuse and neglect are individuals with disabilities. Similar to Hartford, all
the students in the ASC program are students with disabilities as defined by the Individuals with
Disabilities Education Act (20 U.S.C. § 1400 et seq). Keegan Decl. Exhibit F, Resp. No. 3. “All

students enrolled at the Academy have been identified as requiring special education or related

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services under the IDEA.” Hartford, at 233. Disability related classifications of students in the
ASC program included autism, emotional disturbance, learning disability, intellectual disability,
and other health impairment. Keegan Decl. Exhibit F, Resp. No. 3. Such disabilities fall
squarely within the broad definition of “developmental disability” in the DD Act or are otherwise
individuals with disabilities under the PAIR Act. 29 USCA §794e (a) (1).

Moreover, courts have consistently held that “P&A systems need not ‘make a threshold
showing’ of mental illness or developmental disability in order to exercise P&A access
authority.” Alabama Disabilities Advocacy Program v. SafetyNet Youthcare, Inc. 2014 WL
7012710 at *8 (S.D. Alabama 2014), quoting Armstrong, supra at 315; see also, State of
Connecticut Office of Protection and Advocacy for Persons with Disabilities v. Hartford Bd. Of
Educ., supra at 655; JH. v. Hinds Cnty., Mississippi, 2011 WL 3047667, at *3 (S.D. Miss. July
25, 2011); Michigan Prot. & Advocacy Serv., Inc. v. Miller, 849 F. Supp. 1202, 1207 (W.D.
Mich. 1994). Indeed, courts have recognized that a requirement of such a threshold would
frustrate Congressional intent to have independent P&A’s investigate abuse and neglect claims
on behalf of people with disabilities. Armstrong, supra, 266 F.Supp.2d at 315; See J.H. Hinds
Cty, supra, WL 2011 at *5 (rejecting defendant’s “Catch 22’” position as “inconsistent with the
purpose of the P & A statutes” that [P&A] “lacks sufficient evidence of actual cases of mental
illness but denying [P & A] access to residents” to determine whether other cases exist,
“reasonable access is allowed to determine whether individuals are covered”); Kentucky
Protection & Advocacy Division v. Hall, 2001 WL 34792531 at *8 (W.D. Kentucky 2001)
(‘’[dJemanding a conclusive, individualized showing of developmental disability or mental
illness before permitting [access] would reserve to Defendant a gatekeeping function contrary to

the specific terms and general purpose of the Acts.’”); Michigan Protection & Advocacy Service,

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supra at 1207 (“[the defendant’s] present policy of denying [P & A] full access prevents the
advocacy organization from bringing in their own mental health professionals to ascertain
whether any DSS residents do in fact suffer from mental illness ... [and] defeats the very purpose
of PAMII ... to provide effective protection and advocacy services to the mentally ill).

D. DRNY is Equally Entitled to Physical Access of Blue Creek School Solely on the
Basis of Its P & A Monitoring Authority.

In addition to the access authority given to P&A Systems investigate any complaint reported
to the system alleging abuse or neglect of persons with disabilities (see,; 45 C.F.R. § 1386.22(f);;
42 C.F.R. § 51.42(b) and 29 U.S.C. § 794e (f)(2); NY Executive Law §558(b)), a P & A is
further authorized to have access to facilities providing care, treatment and services for the
purpose of monitoring the facility’s compliance with respect to the rights and safety of service
recipients. 42 U.S.C. § 15043 (a)(2)(H)45 C.F.R. § 1386.22(g)(2); 42 U.S.C. §10805(a)(3); 42
C.F.R. § 51.42 (c)(2). A P & A’s monitoring authority was specifically recognized by the
Second Circuit Court of Appeals in Hartford: “the [DD] statute provides access to service
recipients for both investigatory and monitoring purposes . . . the requirement in §
15043(a)(2)(B) that a P & A system have the authority under the [DD] Act to investigate specific
incidents does not limit a P & A system to that power alone.” Connecticut Office of Prot. &
Advocacy For Persons With Disabilities v. Hartford Bd. of Educ., at 242 (2d Cir. 2006). “This
language indicates that Congress intended P&A systems not simply to respond to reports of
maltreatment, but also to monitor facilities in order to prevent abuse or neglect. Id. As in
Harford, DRNY has an undisputable statutory right to access and monitor a public school
program such as Blue Creek School that provides care, treatment and services to individuals with
disabilities. See also, JH. ex rel. Gray v. Hinds Cnty., Miss., 2011 WL 3047667, at *3 (S.D.

Miss. July 25, 2011); Jowa Prot. & Advocacy Servs., Inc. v. Gerard Treatment Programs, L.L.C.,

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152 F. Supp. 2d 1150, 1170 (N.D. Iowa 2001); Jowa Prot. & Advocacy Servs., Inc. vy.

Rasmussen, at 638.

For all of these reasons, it is beyond dispute that DRNY had the requisite legal authority to

enter and conduct an investigation in Defendants Blue Creek School.

POINT II

DEFENDANTS WRONGFULLY DENIED DRNY ACCESS TO RECORDS OF
INDIVIDUALS WITH DISABILITIES

In furtherance of its investigation of the complaints of abuse and neglect at Blue Creek
School, DRNY requested records of four students in the ASC program during the 2013-2014
school year. DRNY submitted signed releases from the parents and legal guardians of these
students. Keegan Decl. Exhibit M. DRNY’s statutory authority is clear:

[The P&A shall] have access to all records of ... any individual with a developmental

disability who is a client of the system if such individual, or the legal guardian,

conservator, or other legal representative of such individual, has authorized the system to

have such access
42 U.S.C. § 15043(a)(2)(T(i)]; See also 42 U.S.C. § 10805(a)(4)(A)(1) (identical records access
authority regarding individuals with mental illness). Although DRNY stated that each student
was a client of our agency and provided written consent of each legal guardian, Defendants
refused to provide some of the requested records. Keegan Decl. Exhibit N. Defendants’ position
is completely without merit given the plain language of the statutes. DRNY is lawfully entitled
to the requested records.

CONCLUSION
The DD Act, PAIMI Act and PAIR Act “aim to protect the legal and human nights of

individuals with developmental disabilities [mental illness and other disabilities]... . To this end,

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the statute provides access to service recipients and their records for both investigatory and
monitoring purposes, i.e., to investigate past instances of suspected abuse or neglect and to
monitor to ensure current respect for the rights and safety of service recipients.” Connecticut
Office of Prot. & Advocacy for Persons with Disabilities vy. Hartford Bd. of Educ., at 241
(internal citations omitted). DRNY is the New York State’s Protection and Advocacy system
and must be granted the access it seeks to fulfill its investigatory and monitoring purposes. For
all the reasons detailed herein, DRNY respectfully requests that this Court grant DRNY
summary judgment and declaratory and permanent injunctive relief granting DRNY access to

Blue Creek Elementary School and the records of individuals with disabilities therein.

By: Chh L—

JyheM.. Keegan

Respectfully submitted,

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